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    14

    15                    IN THE UNITED STATES DISTRICT COURT
    16                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
    17                                SOUTHERN DIVISION
    18

    19   MASIMO CORPORATION,                    )   Case No. 8:20-cv-00048-JVS-JDE
         a Delaware corporation; and            )
    20   CERCACOR LABORATORIES, INC.,           )   PLAINTIFFS’ OPPOSITION TO
         a Delaware corporation                 )   APPLE INC.’S MOTION TO
    21                                          )   DISMISS THE THIRTEENTH
                     Plaintiffs,                )   CAUSE OF ACTION FOR TRADE
    22                                          )   SECRET MISAPPROPRIATION
               v.                               )   IN PLAINTIFFS’ FIRST
    23                                          )   AMENDED COMPLAINT
         APPLE INC., a California corporation   )
    24                                          )   Date:      April 6, 2020
                                                )   Time:      1:30 p.m.
    25               Defendant.                 )
                                                )   Ctrm:      10C
    26                                          )   Judge:     Hon. James V. Selna
                                                )
    27                                          )

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     1                                I. INTRODUCTION
     2         Apple’s Motion challenges Plaintiffs’ trade-secret claims on three
     3   grounds. None have merit. First, Apple argues for a heightened pleading rule
     4   requiring a plaintiff to disclose its trade secrets in detail in the complaint. But
     5   that rule is premised on an outdated 1968 decision from the California Court of
     6   Appeals. The California legislature has since replaced that rule with a statute
     7   requiring disclosure at the discovery phase (Cal. Code Civ. Proc. § 2019.210).
     8   The Ninth Circuit, this Court, and other courts have all since rejected challenges
     9   similar to that brought by Apple. Additionally, in this case, this Court already
    10   decided that Plaintiffs must provide a Section 2019.210 disclosure to obtain
    11   trade-secret discovery, which Plaintiffs will do. Apple’s motion demanding that
    12   the complaint also describe trade secrets in detail is an unnecessary waste of this
    13   Court’s resources.
    14         Second, Apple contends there was no misappropriation because Apple
    15   had no reason to know the information it obtained from Plaintiffs’ former
    16   employees belonged to Plaintiffs. That contradicts the complaint, which alleges
    17   Apple knew the information was a trade secret for many reasons, including (1)
    18   Apple’s prior relationship with Plaintiffs, (2) the former employees’ roles at
    19   Plaintiffs, and (3) Plaintiffs’ 2014 letter warning Apple not to induce former
    20   employees to disclose Plaintiffs’ trade secrets. The Court should not disregard
    21   those factual allegations and accept Apple’s assertions as true.
    22         Third, Apple argues the 2014 letter and a 2016 Apple patent publication
    23   establish a statute-of-limitations defense. But the complaint alleges specific
    24   facts showing Plaintiffs had no reason to suspect misappropriation had occurred.
    25   The letter was sent three days after Lamego left Cercacor and was trying to
    26   prevent future misappropriation. Apple also identifies no similarities between
    27   the 2016 Apple patent publication and the later patents disclosing Plaintiffs’
    28   trade secrets. Even if those documents could establish that Plaintiffs suspected

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     1   misappropriation, Apple fails to show—as it must—that an investigation would
     2   have revealed misappropriation. The complaint alleges Apple did not publish
     3   Plaintiffs’ trade secrets until 2017 and did not release the accused products until
     4   2018. Apple never explains how an investigation in 2014 or 2016 would have
     5   revealed misappropriation Apple concealed until 2017. At best, Apple merely
     6   disputes the facts as pleaded. The Court should deny Apple’s Motion.
     7                           II. STATEMENT OF FACTS
     8         Plaintiff Masimo revolutionized non-invasive patient monitoring,
     9   including pulse rate, arterial oxygen saturation, and more.       First Amended
    10   Complaint, D.I. 28 (“FAC”) ¶ 9.        For years, conventional monitoring was
    11   plagued by inaccurate measurements, particularly in the presence of patient
    12   motion and low peripheral blood flow. Id. ¶ 11. The industry believed it was
    13   impossible to solve these problems, but Masimo did so with its pioneering
    14   Masimo Signal Extraction Technology (“Masimo SET”).             Id.   Masimo re-
    15   invested heavily in new technologies to measure other blood constituents non-
    16   invasively, including to identify carbon monoxide poisoning. Id. ¶ 12. In 1998,
    17   Masimo spun off some of its technologies into a new company, Masimo
    18   Laboratories, which later changed its name to Cercacor. Id. ¶ 15. Masimo and
    19   Cercacor continue to operate under a cross-license. Id.
    20         In 2013, Apple approached Masimo to discuss potentially collaborating.
    21   Id. ¶ 19. The parties entered a confidentiality agreement and met several times
    22   to discuss Apple’s desire to integrate Masimo technology into Apple’s products.
    23   Id. Apple later hired several of Plaintiffs’ employees, including Cercacor’s
    24   Chief Technical Officer (Marcelo Lamego). Id. ¶¶ 20 and 21.
    25         When Lamego left, he assured Plaintiffs he would not violate his
    26   confidentiality obligations. Id. ¶ 23. Three days after Lamego left Cercacor,
    27   Plaintiffs sent a warning letter to Apple to try to avoid any trade-secret
    28   misappropriation. Id. The letter attached a copy of Lamego’s employment

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     1   agreement and asked Apple to “refrain from inducing Mr. Lamego to take
     2   actions that would violate the Agreement while he performs services for Apple.”
     3   Id. Plaintiffs also asked Apple to “direct Mr. Lamego to honor his obligations
     4   to all of his prior employers.” Id. Apple never responded. Id. Based on
     5   Lamego’s assurances and the letter, Plaintiffs hoped Apple would not induce or
     6   allow Lamego to use Plaintiffs’ trade secrets for Apple’s benefit. Id.
     7         Unbeknownst to Plaintiffs, however, Lamego thereafter filed confidential
     8   patent applications on Apple’s behalf that were directed toward technologies he
     9   worked on at Plaintiffs. Id. ¶ 24. To prevent Plaintiffs from learning of the
    10   applications that contained Plaintiffs’ trade secrets, Apple requested the Patent
    11   Office refrain from publishing those applications, as would normally occur
    12   absent this request. Id. ¶ 220. Apple thus prevented Plaintiffs from learning of
    13   those applications until they published as patents in 2017 and later. Id.
    14         Apple released its Apple Watch Series 3 in September 2017, but the non-
    15   invasive physiological measurement features had significant performance
    16   issues. Id. ¶ 25. Thus, Plaintiffs had no reason to think the Series 3 watch
    17   incorporated Plaintiffs’ pioneering technologies. Id. In 2018, however, Apple
    18   released an updated Series 4 watch that solved some of the earlier performance
    19   issues. Id. In this lawsuit, Plaintiffs contend that Apple’s Series 4 and later
    20   watches infringe Masimo’s patents and incorporate Plaintiffs’ trade secrets. Id.
    21   Plaintiffs also seek to correct inventorship and acquire ownership of several
    22   Apple patents. Id. Apple’s Motion is limited to the trade-secret claims.
    23                             III. LEGAL STANDARDS
    24         A complaint need only contain “a ‘short and plain statement of the claim
    25   showing that the pleader is entitled to relief.’” Ashcroft v. Iqbal, 556 U.S. 662,
    26   677-78 (2009) (quoting Fed. R. Civ. P. 8(a)(2)).        In deciding a motion to
    27   dismiss, “a judge must accept as true all of the factual allegations” contained in
    28   the challenged pleadings. Erickson v. Pardus, 551 U.S. 89, 94 (2007). All

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     1   reasonable inferences must be drawn in the non-moving party’s favor.
     2   Nordstrom v. Ryan, 762 F.3d 903, 906 (9th Cir. 2014). A complaint must plead
     3   enough facts to state a plausible claim for relief, but “[t]he plausibility standard
     4   is not akin to a ‘probability requirement[.]’” Iqbal, 556 U.S. at 678. Rather,
     5   Rule 8(a) “simply calls for enough fact to raise a reasonable expectation that
     6   discovery will reveal evidence” to support the allegations. Bell Atl. Corp. v.
     7   Twombly, 550 U.S. 544, 556 (2007). A motion to dismiss should not be granted
     8   “unless it appears beyond doubt that the plaintiff can prove no set of facts in
     9   support of his claim which would entitle him to relief.” Id. at 561.
    10                                   IV. ARGUMENT
    11         To state a claim for trade-secret misappropriation, the plaintiff must
    12   allege: (1) it owned a trade secret; (2) defendant misappropriated a trade secret;
    13   and (3) damages. Cedars Sinai Med. Ctr. v. Quest Diagnostic Inc., 2018 WL
    14   2558388, at *2 (C.D. Cal. Feb. 27, 2018). Apple challenges the first two
    15   elements, but not the third element.
    16   A.    Plaintiffs Plausibly Allege Ownership of Trade Secrets
    17         The FAC alleges Plaintiffs own trade secrets relating to “technical
    18   information, sales and marketing information, and other business information
    19   relating to non-invasive monitoring of physiological parameters and products to
    20   perform such monitoring.” FAC ¶ 211. The FAC also describes the specific
    21   types of trade secrets in each category.       See, e.g., id. (“Plaintiffs’ technical
    22   information includes product plans, engineering plans, product briefs, technical
    23   drawings, technical specifications, technical data, product designs, . . ..”). Nothing
    24   more is required to satisfy the first element. Apple demands that Masimo actually
    25   disclose its trade secrets in the complaint. But such detail is not required.
    26         1.     The Complaint Need Not Disclose Plaintiffs’ Trade Secrets
    27         Apple seeks to impose a heightened pleading standard requiring Plaintiffs
    28   to “describe the trade secrets with sufficient particularity to separate it from

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     1   matters of general knowledge in the trade . . ..” Br. at 14 (quoting Acrisure of
     2   Cal., LLC v. SoCal Commercial Ins. Servs., 2019 WL 4137618, at *3 (C.D. Cal.
     3   Mar. 27, 2019)). Apple omits that Acrisure was quoting an outdated rule from
     4   Diodes, Inc. v. Franzen, 260 Cal. App. 2d 244, 252-53 (1968).              As the
     5   California Court of Appeals explained, the legislature replaced the Diodes
     6   requirement to describe trade secrets in the complaint with Cal. Civ. Proc. Code
     7   § 2019.210, which requires the plaintiff do so at the discovery stage.         See
     8   Brescia v. Angelin, 172 Cal. App. 4th 133, 144 (2009).
     9         The Ninth Circuit has since held a plaintiff is not required to identify “the
    10   particular trade secrets at the pleading stage.” Meggitt San Juan Capistrano,
    11   Inc. v. Yongzhong, 575 F. App’x 801, 803 (9th Cir. 2014) (emphasis in
    12   original).1 As this Court explained, Meggitt “made clear that, even assuming
    13   § 2019.210 governs actions in federal court, the statute does not provide
    14   grounds for dismissing a trade secret claim at the pleading stage.” New Show
    15   Studios LLC v. Needle, 2014 WL 2988271, at *9 (C.D. Cal. June 30, 2014).
    16         Thus, this Court declines to apply a “heightened pleading standard” that
    17   would require a plaintiff to describe its trade secrets with “reasonable
    18   particularity” or “sufficient particularity.” Cedars Sinai, 2018 WL 2558388 at
    19   *3-4; see also Bryant v. Mattel, Inc., 573 F. Supp. 2d 1254, 1269-70 (C.D. Cal.
    20   2007) (holding “reasonable particularity” requirement is “related to discovery
    21   rather than related to pleading”); Rockwell Collins, Inc. v. Wallace, 2017 WL
    22   5502775, at *2 (C.D. Cal. Nov. 10, 2017) (same, and explaining the
    23   “particularity” requirement is more akin to a Rule 9 pleading requirement).2
    24

    25         1
                   All emphasis is added unless indicated otherwise.
    26         2
                  To the extent Apple argues there is a difference between “reasonable
    27   particularity” and “sufficient particularity,” this Court considered the terms
    28   “functionally equivalent.” Cedars Sinai, 2018 WL 2558388, at *3.


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     1   Other courts have reached the same conclusion. See, e.g., Autodesk, Inc. v.
     2   ZWCAD Software Co., 2015 WL 2265479, at *6 (N.D. Cal. May 13, 2015)
     3   (“courts are in general agreement that trade secrets need not be disclosed in
     4   detail in a complaint alleging misappropriation”). Because a plaintiff need not
     5   identify trade secrets “at the pleading stage,” the complaint “need meet only the
     6   federal notice pleading requirements.” XpertUniverse, Inc. v. Cisco Sys., Inc.,
     7   2011 WL 1226365, *2 (D. Del. Mar. 28, 2011) (applying California law).
     8         Describing trade secrets in discovery makes sense because “requiring
     9   plaintiffs to spell out their trade secrets in great detail would risk public
    10   disclosure [of] the very thing plaintiffs are seeking to prevent.” Cedars Sinai,
    11   2018 WL 2558388 at *5; see also Autodesk, 2015 WL 2265479, at *6. Thus, a
    12   trade-secret pleading is “necessarily general,” because “requir[ing] more detail
    13   would force a plaintiff to disclose, in a publicly filed pleading, the very secrets it
    14   seeks to protect.” Soc. Apps, LLC v. Zynga, Inc., 2012 WL 2203063, at *2
    15   (N.D. Cal. June 14, 2012). Even Diodes acknowledged a trade-secret plaintiff
    16   “does not have to spell out the details of the trade secret to avoid a demurrer to a
    17   complaint” because doing so would “destroy the very thing for which he sought
    18   protection.” 260 Cal. App. 2d at 252.
    19         Apple’s erroneous request is also entirely unnecessary. While there is
    20   debate as to whether Section 2019.210 applies in Federal Court, this Court
    21   already stayed “trade secret discovery only” in this case until Plaintiffs provide
    22   a Section 2019.210 disclosure. D.I. 37. Plaintiffs will describe their trade
    23   secrets in more detail in a Section 2019.210 disclosure once a protective order is
    24   in place. Apple provides no basis to also require Plaintiffs provide the same
    25   information in a publicly filed complaint. Indeed, in a recently-filed discovery
    26   motion to Magistrate Judge Early, Apple acknowledged: “It is well-established
    27   that the pleading standard is less demanding—and serves a different purpose—
    28   ///

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     1   than Section 2019.210’s requirement that Plaintiffs provide an adequate
     2   identification of the alleged secrets.” Dkt. No. 43-1.3
     3         2.     Apple’s Cases Do Not Justify a Heightened Pleading Standard
     4         None of Apple’s cases justify its erroneous pleading standard. Most
     5   quote, directly or indirectly, the same outdated and incorrect statement from
     6   Diodes discussed above. See Acrisure, 2019 WL 4137618, at *3; Synopsys, Inc.
     7   v. ATopTech, Inc., 2013 WL 5770542, at *5 (N.D. Cal. Oct. 24, 2013); Green
     8   Crush LLC v. Paradise Splash I, Inc., 2018 WL 4940824, at *5 (C.D. Cal. Mar.
     9   8, 2018); Vendavo, Inc. v. Price f(x) AG, 2018 WL 1456697, at *4 (N.D. Cal.
    10   Mar. 23, 2018); AlterG, Inc. v. Boost Treadmills LLC, 388 F. Supp. 3d 1133,
    11   1144 (N.D. Cal. 2019); Space Data Corp. v. X, 2017 WL 5013363, at *2 (N.D.
    12   Cal. Feb. 16, 2017).4 Apple’s reliance on Space Data is particularly misplaced
    13   because that court later held the “sufficient particularity” requirement is a
    14   discovery requirement “separate” from a motion to dismiss. 2017 WL 3007078,
    15   at *3 (N.D. Cal. July 14, 2017).
    16         Apple also relies on Human Longevity, Inc. v. J. Craig Venter Inst., Inc.,
    17   2018 WL 6617633, at *4 (S.D. Cal. Dec. 18, 2018), Bladeroom Grp. Ltd. v.
    18   Facebook, Inc., 2015 WL 8028294, at *3 (N.D. Cal. Dec. 7, 2015), and Becton,
    19   Dickinson & Co. v. Cytek Biosciences Inc., 2018 WL 2298500, at *3 (N.D. Cal.
    20   May 21, 2018). But those decisions all relied on the Ninth Circuit’s decision in
    21

    22
               3
                  In its discovery motion, Apple demands Plaintiffs disclose their trade
    23
         secrets in a 2019.210 statement before entry of a protective order, while Apple
    24   need not provide any confidential patent discovery before the entry of such an
         order. Plaintiffs are diligently working to negotiate a protective order, which
    25
         has been complicated by Apple’s attempts to deviate from Judge Early’s model.
    26         4
                 In a footnote, Synopsys asserts Diodes is still good law. Synopsys, 2013
    27   WL 5770542 at *5, n.1. But Synopsys itself is outdated and predates many of
    28   the decisions on which Plaintiffs rely from the Ninth Circuit and this Court.


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     1   Imax Corp. v. Cinema Techs., Inc., 152 F.3d 1161, 1163-65 (9th Cir. 1998),
     2   which addressed identification of trade secrets on summary judgment. This
     3   Court and others have held Imax does not apply at the pleading stage. See
     4   Cedars Sinai, 2018 WL 2558388, at *4; Strategic Partners Inc. v. Vestagen
     5   Protective Techs., Inc., 2016 WL 10611186, at *5 (C.D. Cal. Nov. 23, 2016);
     6   Chiro-Med Centers, P.C. v. Healthy You MD, LLC, 2012 WL 12871655, at *4
     7   (D. Ariz. June 28, 2012); Modus LLC v. Encore Legal Sols., Inc., 2013 WL
     8   6628125, at *7 (D. Ariz. Dec. 17, 2013).
     9         Apple’s remaining cases likewise did not address the pleading standard.
    10   Two cases addressed particularity requirements on summary judgment—not a
    11   motion to dismiss. See Universal Analytics, Inc. v. MacNeal-Schwendler Corp.,
    12   707 F. Supp. 1170, 1177-78 (C.D. Cal. 1989); InteliClear, LLC v. ETC Glob.
    13   Holdings, Inc., 2019 WL 4233578, at *4 (C.D. Cal. June 28, 2019). Apple’s
    14   last case addressed whether a separate Section 2019.210 statement was
    15   sufficient at the discovery stage. See VIA Techs., Inc. v. Asus Computer Int’l,
    16   2016 WL 5930280, at *3 (N.D. Cal. Oct. 12, 2016).
    17         In contrast, this Court has directly addressed the pleading standard and
    18   found the line of cases on which Apple relies “applying a heightened standard
    19   unpersuasive.”    Cedars Sinai, 2018 WL 2558388, at *3.              As the Court
    20   explained, the “reasonable particularity” requirement is a discovery requirement
    21   under Section 2019.210, not a pleading requirement under Rule 8. Id. at *3.
    22   This Court relied on the Ninth Circuit’s decision in Meggitt rejecting a
    23   heightened pleading standard and rejected the Imax rule because that case
    24   addressed summary judgment—not “misappropriation pleadings.” Id. at *4.
    25   Thus, “pleadings for trade secret misappropriation should be held to the
    26   standard articulated in Rule 8(a)(2),” which requires only a “short and plain
    27   statement of the claim showing the pleader is entitled to relief.” Id. at *4.
    28   ///

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     1            3.      Plaintiffs Sufficiently Described Their Trade Secrets
     2            Plaintiffs’ FAC more than satisfies the pleading requirements.               The
     3   original Complaint plausibly showed Plaintiffs own trade secrets directed to
     4   “business plans, know-how, technical information, technical data, designs,
     5   manufacturing techniques and other business information.” D.I. 1 ¶ 181.5 Even
     6   though that was sufficient, Plaintiffs amended the complaint to describe each
     7   category in more detail. See, e.g., FAC ¶ 211 (“Plaintiffs’ technical information
     8   includes product plans, engineering plans, product briefs, technical drawings,
     9   technical specifications, technical data, product designs, system designs, . . .”).
    10            Contrary to Apple’s suggestion, “broad categories of descriptions suffice
    11   at the pleading stage.” Strategic Partners, 2016 WL 10611186, at *4. As the
    12   Court explained, “the level of detail required in trade secret pleadings is not
    13   high.”        Cedars Sinai, 2018 WL 2558388 at *6.         Indeed, this Court finds
    14   disclosures that are less detailed than the FAC sufficient at the pleading stage.
    15   See, e.g., id. (“financial, business, scientific, technical, economic, and/or
    16   engineering information . . .”); New Show Studios, 2014 WL 2988271, at *8-9
    17   (“[plaintiff’s] confidential, proprietary competitor information, including
    18   information regarding [plaintiff’s] clients and its business plans, pricing,
    19   marketing strategies, client contacts, and other competitive information
    20   constituting [plaintiff’s] trade secrets”).
    21            Other courts do the same. See, e.g., TMX Funding, Inc. v. Impero Techs.,
    22   Inc., 2010 WL 2509979, at *3 (N.D. Cal. June 17, 2010) (“nine broad categories
    23   of trade secret information” including “customer lists,” “customer profiles,”
    24   “product information,” and “business methods and marketing plan”); W.L. Gore
    25

    26            5
                  Notably, Plaintiffs similarly defined their trade secrets in Masimo Corp.
    27
         et al. v. True Wearables, Inc. et al., which Apple asserts involves allegations
         “nearly identical” to this case. See D.I. 14 at 3. There, the defendants did not
    28   even contest the complaint provided sufficient detail.

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     1   & Assocs. v. GI Dynamics, Inc., 2010 WL 5184254, at *8 (D. Ariz. Dec. 15,
     2   2010) (“market studies, financial information, manufacturing methods, and
     3   [counterclaimant’s] future plans”); Brocade Commc’ns Sys., Inc. v. A10
     4   Networks, Inc., 2011 WL 1044899, at *1 (N.D. Cal. Mar. 23, 2011) (“technical,
     5   marketing, and employee related information”).
     6         Even courts that improperly applied the Diodes requirement of “sufficient
     7   particularity” found less detailed descriptions sufficient. See TMC Aerospace,
     8   Inc. v. Elbit Sys. of Am. LLC, 2016 WL 3475322, at *5 (C.D. Cal. Jan. 29, 2016)
     9   (“proprietary design drawings, manufacturing techniques, and manufacturing
    10   equipment including moulds and jigs”); Monster Energy Co. v. Vital Pharm.,
    11   Inc., 2019 WL 2619666, at *15 (C.D. Cal. May 20, 2019) (“Monster’s pricing
    12   model,” “commercially sensitive Monster e-mails,” and “valuable pricing
    13   information trade secrets”); Teva Pharm. USA, Inc. v. Health IQ, LLC, 2013
    14   WL 12134185, at *3 (C.D. Cal. July 2, 2013) (“timing of product launches” and
    15   “pricing for its products”); Roadrunner Transportation Servs. v. Tarwater, 2010
    16   WL 11483986, at *4 (C.D. Cal. Dec. 20, 2010) (“customer lists and pricing
    17   information”).
    18         Apple’s argument that Plaintiffs must describe how each secret differs from
    19   the patent disclosures (D.I. 38-1 at 19-20) is based on cases incorrectly applying
    20   Diodes. See Section IV.A.2, supra. Apple ignores that public disclosure is
    21   “highly factual” and “not properly decided on a motion to dismiss.” Cedars
    22   Sinai, 2018 WL 2558388 at *5; see also T–Mobile USA, Inc. v. Huawei Device
    23   USA, Inc., 115 F. Supp. 3d 1184, 1191–92 (W.D. Wash. 2015).6 Apple also
    24   complains that Plaintiffs did not “delineate which trade secrets are owned by
    25

    26         6
                  Apple suggests a higher standard applies because Apple published some
    27
         of Plaintiffs’ trade secrets. D.I. 38-1 at 2. But a defendant “cannot ‘baptize’
         their wrongful actions by general publication of the secret.” HiRel Connectors,
    28   Inc. v. U.S., 2005 WL 4958547, at *7 (C.D. Cal. Jan. 4, 2005).

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     1   whom.” D.I. 38-1 at 20. But Apple cites no authority and does not explain why
     2   that matters at the pleading stage. The FAC alleges Plaintiffs have a “cross-
     3   license agreement to facilitate confidential collaboration . . ..” FAC ¶ 15.
     4         Apple attempts to pick apart each category of trade secrets (D.I. 38-1 at
     5   15-19) but Apple relies on cases that incorrectly apply Diodes to the pleadings.
     6   See Section IV.A.2, supra. Apple’s argument on the “combination” secrets
     7   cites only cases that did not address pleadings. See D.I. 38-1 at 18. Apple
     8   claims one case held trade secrets were “pleaded with insufficient specificity,”
     9   but the court actually found insufficient evidence on summary judgment. See
    10   InteliClear, 2019 WL 4233578 at *4. Apple’s other case addressed a Section
    11   2019.210 disclosure at the discovery phase. Via Techs., 2016 WL 5930280 at *3.
    12   Nothing requires additional detail in the FAC, particularly because Plaintiffs
    13   will provide such detail in their forthcoming Section 2019.210 disclosure.
    14   B.    Plaintiffs Plausibly Allege Misappropriation
    15         Plaintiffs also allege more than sufficient facts to show misappropriation
    16   by improper acquisition, use, and disclosure. See FAC ¶¶ 215-220.
    17         1.     Plaintiffs Plausibly Allege Improper Acquisition
    18         A defendant misappropriates trade secrets by acquisition if it “knew or had
    19   reason to know that the trade secret was acquired by improper means,” which
    20   includes “breach or inducement of a breach of a duty to maintain secrecy.” Cal.
    21   Civ. Code §§ 3426.1(a) & (b)(1). The FAC satisfies these requirements.
    22         The FAC alleges former employees disclosed trade secrets to Apple even
    23   though they knew doing so breached their obligations to Plaintiffs. FAC ¶ 215.
    24   The FAC also alleges Apple knew the former employees were not authorized to
    25   provide trade secrets to Apple. Id. ¶ 216. For example, with respect to Lamego,
    26   the FAC alleges that Apple knew of his job titles at Plaintiffs, Apple had a prior
    27   relationship with Plaintiffs, and Apple received a letter warning it not to allow
    28   Lamego to use Plaintiffs’ trade secrets. Id. Despite this knowledge, Apple

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     1   “induced Lamego to disclose Plaintiffs’ Confidential Information” and “Lamego
     2   disclosed Plaintiffs’ Confidential Information for the benefit of Defendant while
     3   employed by Defendant.” Id. That is more than sufficient to allege both
     4   Lamego’s breach on Apple’s behalf, and Apple inducing Lamego to breach.
     5         Apple raises three arguments, but none have merit. First, Apple argues
     6   Plaintiffs failed to allege Apple knew or had reason to know its acquisition was
     7   by improper means. D.I. 38-1 at 21. But that simply ignores all of Plaintiffs’
     8   allegations above. The FAC alleges numerous reasons why Apple knew or had
     9   reason to know it was acquiring trade secrets through breach or inducement of a
    10   duty to maintain secrecy. See FAC ¶¶ 215-16.
    11         Rather than address these allegations, Apple relies on irrelevant cases
    12   rejecting the inevitable disclosure doctrine, or holding that “mere possession” or
    13   “passive reception” of trade secrets is insufficient. See D.I. 38-1 at 21-22 (citing
    14   S. Cal. Inst. of Law v. TCS Educ. Sys., 2011 WL 1296602, at *7 (C.D. Cal. Apr.
    15   5, 2011); Pellerin v. Honeywell Int’l, Inc., 877 F. Supp. 2d 983, 989 (S.D. Cal.
    16   2012); Les Concierges, Inc. v. Robeson, 2009 WL 1138561, at *2 (N.D. Cal.
    17   Apr. 27, 2009); Human Longevity, 2018 WL 6617633, at *6; Silvaco Data Sys.
    18   V. Intel Corp., 184 Cal. App. 4th 210, 223 (Cal. Ct. App. 2010)). But Plaintiffs
    19   are not relying on inevitable disclosure, “mere possession” of trade secrets, or
    20   “passive reception” of trade secrets. Similarly, Apple’s assertion that it is not
    21   improper to hire former employees (D.I. 38-1 at 21) is irrelevant because
    22   Plaintiffs never allege the mere hiring of a former employee is improper.
    23   Plaintiffs allege improper acquisition through breach and inducement of a
    24   breach of duty to maintain secrecy. See FAC ¶ 216.7
    25

    26         7
                 Apple also argues Plaintiffs must show its “former employees
    27
         improperly acquired trade secrets.” D.I. 38-1 at 22. That is also incorrect. A
         defendant may improperly acquire trade secrets from an individual who lawfully
    28   possessed them. See Cal. Civ. Code § 3426.1(a).

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     1         Second, Apple asserts the 2014 letter did not give Apple “notice of the
     2   bounds of their purported trade secrets.” D.I. 38-1 at 22. Apple cites nothing to
     3   support its assertion that Plaintiffs had to disclose their trade secrets to Apple
     4   just to prevent Apple from using them.        Apple cites Invisible Dot, Inc. v.
     5   DeDecker, 2019 WL 1718621, at *5 (C.D. Cal. Feb. 6, 2019), but that case
     6   merely held the definition of “confidential information” from an employment
     7   contract did not satisfy the particularity requirement of Diodes. Id.
     8         Apple also argues Plaintiffs fail to allege facts describing “how Apple
     9   purportedly induced such a breach.” D.I. 38-1 at 23. But Apple provides no
    10   authority showing Plaintiffs must allege precisely what Apple did to induce a
    11   breach. Plaintiffs properly pleaded the allegation “on information and belief”
    12   because the information “is not presumptively in the knowledge of the pleading
    13   party.” See Calendar Research LLC v. StubHub, Inc., 2017 WL 10378336, at
    14   *4 (C.D. Cal. Aug. 16, 2017). Apple cites two cases, but neither required
    15   specific allegations of how the defendant induced another to breach.         ATS
    16   Prods., Inc. v. Champion Fiberglass, Inc., 2015 WL 6552698, at *3 (N.D. Cal.
    17   Oct. 28, 2015) (addressing a complaint that “only recites the elements of the
    18   claim with conclusory statements”); Carr v. AutoNation Inc., 2018 WL 288018,
    19   at *3 (E.D. Cal. Jan. 4, 2018) (addressing a complaint that assumed
    20   misappropriation because of defendant’s limited industry experience).
    21         Apple also argues Lamego’s knowledge is “irrelevant as to Apple’s state
    22   of mind.”    D.I. 38-1 at 23.    But the FAC alleges Lamego was an Apple
    23   employee at the time he provided the information to Apple.              Because a
    24   “corporation always acts through individuals,” Plaintiffs’ allegations concerning
    25   Lamego’s knowledge are “sufficient to allege that [Apple] knew of the
    26   misappropriation.” See Pyro-Comm Sys. Inc. v. W. Coast Fire & Integration
    27   Inc., 2015 WL 12765143, at *5 (C.D. Cal. Apr. 2, 2015). Regardless, the FAC
    28   also alleges Apple’s knowledge directly. FAC ¶ 216.

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     1         Third, Apple argues the FAC pleads insufficient detail about the 2013
     2   agreement. See D.I. 38-1 at 24. Apple cites Zora Analytics, LLC v. Sakhamuri,
     3   2013 WL 12124612 (S.D. Cal. June 18, 2013) and Zomm, LLC v. Apple Inc.,
     4   391 F. Supp. 3d. 946 (N.D. Cal. 2019), but those cases addressed the standards
     5   for pleading contract claims—not trade secret claims. Apple also cites Space
     6   Data, 2017 WL 5013363 at *2, but the plaintiff in that case alleged trade secrets
     7   were acquired solely pursuant to a non-disclosure agreement. As discussed,
     8   Plaintiffs allege improper acquisition through their former employees.
     9         2.     Plaintiffs Also Plausibly Allege Improper Use and Disclosure
    10         A defendant misappropriates trade secrets by use or disclosure if it (A) used
    11   improper means to acquire the information or (B) knew or had reason to know the
    12   information was (i) obtained from a person who acquired it using improper means,
    13   (ii) acquired under a duty to maintain its secrecy, or (iii) derived from another who
    14   had a duty to maintain its secrecy. Cal. Civ. Code §§ 3426.1(b)(2)(A) and (B).
    15         The FAC alleges Apple used and disclosed Plaintiffs’ trade secrets in
    16   numerous ways, including Lamego acting on Apple’s behalf, Apple incorporating
    17   the information into its products, and Apple incorporating the information into its
    18   patent applications. See FAC ¶¶ 217-18. As addressed above, the FAC alleges
    19   Apple acquired the information through improper means. Id. The FAC also
    20   alleges Apple knew the information was derived from Lamego, who had a duty to
    21   maintain its secrecy. Id. That is sufficient under both subparagraph (A) and (B)
    22   of the statute. Cal. Civ. Code §§ 3426.1(b)(2)(A).
    23         Apple argues that Plaintiffs failed to allege “which specific” information
    24   it used and “how the information allegedly was incorporated into Apple’s
    25   products or patent applications.” D.I. 38-1 at 25. That merely rehashes Apple’s
    26   argument that Plaintiffs did not adequately describe their trade secrets and fails
    27   for the same reasons discussed above. See Section IV.A, supra.
    28   ///

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     1         Apple relies on MedioStream, Inc. v. Microsoft Corp., 869 F. Supp. 2d
     2   1095, 1114 (N.D. Cal. 2012), but the facts of that case are nothing like this case.
     3   In MedioStream, the complaint alleged Sony acquired trade secrets by licensing
     4   them from another defendant. Id. However, the complaint failed to allege Sony
     5   had any reason to know the other defendant, who was once authorized to license
     6   the technology, was no longer authorized to do so.      Id. The FAC alleges no
     7   similar facts. See Lilith Games Co. v. uCool, Inc., 2015 WL 4128484, at *4
     8   (N.D. Cal. July 8, 2015) (distinguishing MedioStream because “there are no
     9   facts alleged in this case suggesting that [defendant] believed [plaintiff] had
    10   consented to [defendant] using its code”). The FAC alleges numerous reasons
    11   why Apple knew or should have known it was not authorized to use Plaintiffs’
    12   trade secrets. FAC ¶¶ 217-18.
    13         Apple also cites Delphix Corp. v. Actifo, Inc., 2014 WL 4628490, at *2
    14   (N.D. Cal. Mar. 19, 2014), for the proposition that alleging misappropriation on
    15   “information and belief” is improper. But Delphix did not even address a trade-
    16   secret claim, much less the requirements for alleging the misappropriation
    17   element. In contrast, this Court specifically rejected that argument in a trade-
    18   secret case and held that “allegations regarding a defendant’s use of trade
    19   secrets are properly made ‘on information and belief’ because such information
    20   is not presumptively in the knowledge of the pleading party.”            Calendar
    21   Research, 2017 WL 10378336, at *4.
    22   C.    Apple’s Affirmative Defense Cannot Be Resolved on the Pleadings
    23         Apple argues, in one breath, that Plaintiffs do not today have sufficient
    24   facts to establish misappropriation and, in the next, that Plaintiffs could have
    25   discovered sufficient facts years ago before the relevant patent applications and
    26   products were even public.        Apple’s statute-of-limitation challenge fails.
    27   Because the statute of limitations is a defense, Plaintiffs need not “plead facts
    28   demonstrating that a claim is timely.” Heintze v. Wells Fargo Bank, N.A., 2015

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     1   WL 12696455, at *6 (C.D. Cal. June 19, 2015). Instead, a defendant may raise
     2   a statute-of-limitations defense at the pleading stage only where it is “apparent
     3   on the face of the complaint.” See Bickley v. Centurylink Commc’ns, LLC, 2015
     4   WL 13309944, at *4 (C.D. Cal. Nov. 3, 2015).               Where “allegations are
     5   susceptible of an interpretation that would make [the] claim timely,” dismissal is
     6   “inappropriate.”     Shaw v. Specialized Loan Servicing, LLC, 2014 WL
     7   12586435, at *7 (C.D. Cal. Sept. 12, 2014).
     8         Under the “discovery rule,” the “limitations period begins when the
     9   plaintiff has actual or constructive notice of the facts giving rise to the claim.”
    10   Alamar Biosceinces, Inc. v. Difco Labs, Inc., 1996 WL 648286 at *3 (E.D. Cal.
    11   Feb. 27, 1996). Thus, the limitations period begins only when there is (1)
    12   “reason to suspect that a trade secret has been misappropriated” and (2) “a
    13   reasonable investigation would produce facts sufficient to confirm this suspicion
    14   (and justify bringing suit) . . ..” Id. “[I]f certain facts necessary to the claim are
    15   unavailable even to a reasonably diligent plaintiff, the limitations period is
    16   tolled until the facts do become available.” Id. This inquiry is a “question of
    17   fact unless the evidence can support only one reasonable conclusion.” Ovando
    18   v. County of Los Angeles, 159 Cal. App. 4th 42, 61 (2008); Ward v.
    19   Westinghouse Canada, Inc., 32 F.3d 1405, 1408 (9th Cir.1994) (“Under
    20   California law, the question of when [the plaintiff] was on inquiry notice of
    21   potential wrongdoing is a factual question.”).8 Apple cannot show the pleadings
    22   establish as a matter of law that Plaintiffs (1) had reason to suspect a trade secret
    23   ///
    24

    25         8
                 Apple half-heartedly suggests Plaintiffs must plead the specific
    26   requirements set forth in Fox, 35 Cal. 4th at 808. D.I. 38-1 at 10. But Federal
         Courts have rejected the Fox pleading standard under Erie. Yamada v. Nobel
    27   Biocare Holding, AG, 2011 WL 13128155 at *3 n.3 (C.D. Cal. Jan. 20, 2011).
    28   Regardless, the FAC alleges earlier discovery was impossible. FAC ¶ 219.


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     1   was misappropriated and (2) a reasonable investigation would have revealed the
     2   misappropriation. Plaintiffs’ pleadings allege the exact opposite.
     3         1.     Apple Has Not Shown Reason to Suspect As A Matter of Law
     4         Apple claims Plaintiffs had reason to be “suspicious” of misappropriation
     5   based on a 2014 letter Plaintiffs sent to Apple and a 2016 Apple patent
     6   publication. However, Apple merely contradicts the allegations in the FAC.
     7                a.     Plaintiffs’ 2014 Letter to Apple Does Not Establish
     8                       Apple’s Statute-of-Limitations Defense
     9         Apple argues that Plaintiffs’ 2014 letter to Apple demonstrates Plaintiffs
    10   were “suspicious” of misappropriation in 2014. D.I. 38-1 at 6-7. But Plaintiffs
    11   sent the letter on January 24, 2014—just three days after Lamego left Cercacor
    12   and possibly before he even started at Apple. Ilissa Decl., Ex. A. The letter
    13   begins by saying Plaintiffs sent it because Apple “offered employment” to
    14   Lamego. Id. Plaintiffs had no reason to suspect that—three days after Lamego
    15   left Cercacor and perhaps before Lamego even joined Apple—Lamego and
    16   Apple had already misappropriated Plaintiffs’ trade secrets. FAC ¶ 23.
    17         Indeed, the FAC explains that Plaintiffs had confidentiality agreements
    18   with both Lamego and Apple, and Lamego assured Plaintiffs he “would not
    19   violate his agreements.” Id. Apple cannot establish as a matter of law that
    20   Masimo had reason to suspect that both Apple and Lamego had (1) defied their
    21   agreements with Masimo, (2) ignored Masimo’s warnings, (3) ignored
    22   Lamego’s assurances to Masimo, and (4) unlawfully misappropriated Masimo’s
    23   trade secrets. See Memry Corp. v. Kentucky Oil, 2005 WL 8162558 at *6 (N.D.
    24   Cal. Apr. 8, 2005) (denying motion to dismiss because plaintiff’s “previous
    25   relationship” with, and “assurances” from, defendant’s employee “could have
    26   reasonably precluded [plaintiff] from becoming suspicious”).
    27         At    best,   Apple    merely    points    to   a   “general    distrust   of
    28   [defendant] . . . rather than suspicion of the factual basis of the claims asserted

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     1   in this case,” Highmark Digital, Inc. v Casablanca Design Centers, Inc., 2020
     2   WL 2114940 at *13 (C.D. Cal. Mar. 26, 2020). Far from showing Plaintiffs
     3   suspected actual misappropriation, the letter plausibly shows Plaintiffs were
     4   taking “reasonable efforts” to maintain the secrecy of their trade secrets and
     5   prevent future misappropriation. See Cal. Civ. Code § 3426.1(d)(2). Apple
     6   cites no authority holding such letters trigger the statute of limitations or that an
     7   employer must investigate every time an employee quits. For good reason, such
     8   “general concerns” do not trigger the statute of limitations.         See Brocade
     9   Comms. Sys., Inc. v. A10 Networks, Inc., 873 F. Supp. 2d 1192, 1217 (N.D. Cal.
    10   Jun. 12, 2012) (departure of employees and “general concern” that defendant
    11   had “used [plaintiff’s] confidential information to develop its product” merely
    12   created factual dispute as to whether plaintiff “had reason to be suspicious”).
    13   As Apple’s own authority explains, holding otherwise would be contrary to
    14   public policy by “requir[ing] plaintiffs to file a lawsuit at a time when the
    15   evidence available to them failed to indicate a cause of action.” See Fox v.
    16   Ethicon Endo-Surgery, Inc., 35 Cal. 4th 797, 815 (2005).
    17         Apple relies heavily on summary judgment cases with detailed
    18   evidentiary records presenting strong evidence the plaintiff knew or should have
    19   known of misappropriation. See Gabriel Technologies Corp. v. Qualcomm Inc.,
    20   857 F. Supp. 2d 997, 1004 (S.D. Cal. 2012) (plaintiff’s co-founder emailed
    21   employees the technology was a “direct rip-off” of plaintiff’s trade secret);
    22   MGA Entertainment, Inc. v. Mattel, Inc., 41 Cal. App. 5th 554, 560 (2019)
    23   (plaintiff asserted an “unclean hands” defense more than three years earlier
    24   alleging misappropriation and admitted in verified interrogatories it suspected
    25   misappropriation); Alamar, 1996 WL 648286 at *3, *8 (plaintiff had examined
    26   “two technical posters and three abstracts” containing plaintiffs’ trade secrets);
    27   Forcier v. Microsoft Corp., 123 F. Supp. 2d 520 (N.D. Cal. 2000) (five years
    28   ///

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     1   before suing, the plaintiff was “convinced misappropriation had occurred”).9
     2         None of Apple’s cases support dismissing Masimo’s claims on the
     3   pleadings. To the contrary, Apple’s own precedent explains that the Court must
     4   accept as true Plaintiffs’ allegations that they “did not discover, nor suspect”
     5   misappropriation. See Fox, 35 Cal. 4th at 811. Indeed, this Court denied a
     6   similar motion after concluding it “must accept” plaintiff’s allegation that she
     7   “lacked a suspicion” of “wrongful conduct.” See In re Toyota Motor Corp.
     8   Unintended Acceleration Mktg., Sales Practices, Prod. Liab. Litig., 2010 WL
     9   6419562, at *7 (C.D. Cal. Dec. 9, 2010) (Selna, J.).
    10                b.    Apple’s ’726 Publication Does Not Establish Apple’s
    11                      Statute-of-Limitations Defense
    12         Apple also argues the ’726 publication in 2016 should have made
    13   Plaintiffs suspicious of misappropriation. But that publication did not disclose
    14   Plaintiffs’ trade secrets. Apple’s original motion to dismiss incorrectly asserted
    15   that Plaintiffs allege the ’726 publication disclosed Plaintiffs’ trade secrets.
    16   D.I. 16-1 at 8. But the Complaint said no such thing. Regardless, to avoid any
    17   doubt, Plaintiffs amended to state “Defendant did not publish Plaintiffs’
    18   Confidential Information in patent applications until after January 10, 2017, and
    19   the first product at issue was not announced until 2018.” FAC ¶ 219.10 Apple
    20   claims the FAC somehow “contradicts” the original Complaint, but identifies no
    21   supposed contradiction. See D.I. 38-1 at 8.
    22   ///
    23

    24
               9
                Apple relies on the portion of Forcier denying the plaintiff’s request to
    25
         amend and add a tortious-interference claim, but the proposed claim related to
    26   the same trade-secret misappropriation at issue on summary judgment.
    27         10
                Apple’s assertion that Paragraph 219 merely alleges Plaintiffs “did not
    28   know” about the ’726 publication, D.I. 38-1 at 8, is untrue. See FAC ¶ 219.


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     1         Apple also asserts the ’726 publication should have made Plaintiffs
     2   suspicious because it is supposedly similar to later Apple patents. Id. But
     3   Apple’s unsupported attorney argument fails to identify any similarities
     4   between the ’726 publication and later patents.
     5         Apple also argues the ’726 publication should have made Plaintiffs
     6   suspect misappropriation because it showed Lamego was working “in the field
     7   of physiological monitoring.” D.I. 38-1 at 9. That ignores contrary allegations
     8   in the FAC, including that the ’726 publication did not disclose Plaintiffs’ trade
     9   secrets, that Lamego signed numerous confidentiality agreements, and that
    10   Lamego assured Plaintiffs he would not violate those agreements. FAC ¶¶ 23
    11   and 219. Apple is wrong to suggest the Court should ignore these allegations.
    12         Apple also provides no legal support for its challenge of Plaintiffs’
    13   pleadings and, instead, relies on summary judgment cases with full records and
    14   different facts. For example, Apple asserts the application at issue in Wang v.
    15   Palo Alto Networks, Inc., 2014 WL 1410346 at *4 (N.D. Cal. Apr. 11, 2014)
    16   was merely in the “same field” as the trade secrets, but it was actually the very
    17   patent application that contained plaintiff’s trade secrets. Id. at *3. Apple also
    18   argues Alta Devices, Inc. v. LG Elecs., Inc., 2019 WL 1924992, at *14 (N.D.
    19   Cal. Apr. 30, 2019) appropriately relied on Wang at the pleading stage, but that
    20   is only because Alta Devices accepted all allegations in the complaint as true.
    21   Here, Apple asks the Court to contradict the FAC’s allegations.
    22         Apple also cites Board of Trustees of Leland Stanford Junior Univ. v.
    23   Roche Molecular Sys., Inc., 583 F.3d 832 (Fed. Cir. 2009), but that case
    24   involved only patent ownership claims not trade secret claims. Additionally, in
    25   that case, Roche was aware of patent publications claiming the same subject
    26   matter. Moreover, the court distinguished a prior case because, like here, the
    27   patent applications in the prior case “were secret and the party challenging
    28   ///

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     1   inventorship lacked actual knowledge of the applications.” Id. (citing Stark v.
     2   Advanced Magnetics, Inc., 29 F.3d 1570, 1576 (Fed. Cir. 1994)).
     3         2.     Apple Identifies No Information Plaintiffs Could Have
     4                Acquired To Support Their Claim in 2014 or 2016
     5         Even if Apple could contradict the FAC and establish that Plaintiffs had
     6   reason to suspect misappropriation, Apple’s challenge would fail on the second
     7   required element of its defense: that “a reasonable investigation would produce
     8   facts sufficient to confirm this suspicion (and justify bringing suit) . . ..” Hays v.
     9   VDF Futureceuticals, Inc., 2016 WL 5660395, at *3 (D. Haw. Sept. 28, 2016).11
    10   Again, the FAC alleges the opposite: Plaintiffs had no way of learning of the
    11   misappropriation until much later because “Defendant did not publish Plaintiffs’
    12   Confidential Information in patent applications until after January 10, 2017, and
    13   the first product at issue was not announced until 2018.” FAC ¶ 219.
    14         Apple makes no attempt to show, much less establish as a matter of law,
    15   that Plaintiffs in 2014 and 2016 could have somehow known (1) what Apple’s
    16   2017 publications would say or (2) how Apple’s 2018 products would function.
    17   Apple merely asserts the ’726 publication showed Lamego was working in the
    18   general physiological monitoring field.        That did not disclose trade secret
    19   misappropriation or “justify bringing suit.” See Hays, 2016 WL 5660395, at *3.
    20         Indeed, if Plaintiffs had filed suit in 2014 or 2016, Apple would have
    21   claimed Plaintiffs were relying on the inevitable disclosure doctrine based on
    22   Lamego’s work in the general field. Even today, Apple (incorrectly) asserts
    23   Plaintiffs still have insufficient evidence and are basing their claims on
    24   inevitable disclosure. See D.I. 38-1 at 21-22. Apple cannot argue Plaintiffs
    25   have insufficient evidence today but could have found sufficient evidence in
    26

    27         11
                 In a studied attempt to downplay this issue, Apple uses ellipses to omit
    28   the words “and justify bringing suit” when quoting Hays. See D.I. 38-1 at 6.


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     1   2014. As Apple’s authority explains, “[i]t would be contrary to public policy to
     2   require plaintiffs to file a lawsuit at a time when the evidence available to them
     3   failed to indicate a cause of action.” Fox, 35 Cal. 4th at 815. That would
     4   expose plaintiffs to “sanctions for filing a cause of action without any factual
     5   support” and subject them to challenges “for failure to specify supporting facts.”
     6   Id. (rejecting defense where inquiry would not have revealed a basis for suit).
     7         Apple cites summary judgment cases where the key evidence of
     8   misappropriation was readily available. See Gabriel, 857 F. Supp. 2d at 1004-
     9   06 (holding an investigation would have led to the very “applications and issued
    10   patents that allegedly contained [the plaintiff’s] trade secrets”); Alamar, 1996
    11   WL 648286 at *3, *8 (holding an application that was “available on a patent
    12   search database” presented a “complete description of Alamar’s technology”);
    13   Stanford, 583 F.3d 832 (holding the application resulting in the challenged
    14   patent was published “more than four years before” suit); Wang, 2014 WL
    15   1410346 at *4 (holding the application disclosing trade secrets was published
    16   more than four years before suit).
    17         Apple cites two cases addressing the pleadings, but in both the plaintiff
    18   alleged misappropriation based on patents issued five years earlier. Klang v.
    19   Pflueger, 2014 WL 4922401 at *5-6 (C.D. Cal. July 10, 2014); Hays, 2016 WL
    20   5660395 at *5. Here, Apple relies on a patent application that does not even
    21   disclose Plaintiffs’ trade secrets. FAC ¶ 219; see also Javo Beverage Co. v. Cal.
    22   Extration Ventures, 2019 WL 6467802 at *3 (S.D. Cal. Dec. 2, 2019) (rejecting
    23   statute-of-limitations challenge to the pleadings that relied on a patent
    24   application because even “cases relying on the issuance of a patent as
    25   constructive notice were either at the summary judgment stage or later in the
    26   proceedings with sufficient evidence on the record to decide this issue”).
    27   ///
    28   ///

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     1         3.     Apple’s Attempt to Discredit the FAC is Improper
     2         Apple next attempts to parse and discredit each of Plaintiffs’ allegations.
     3   D.I. 38-1 at 10-14. Such arguments are inappropriate at the pleading stage.
     4         First, Apple summarily asserts that “Plaintiffs’ claim that they simply
     5   interpreted Apple’s ostensible silence as agreement to the demands in their letter
     6   fails.” D.I. 38-1 at 10. But Apple never explains why Plaintiffs’ allegation
     7   “fails.” Apple merely references, with a “cf” cite, a summary judgment case
     8   involving dramatically different facts. See Wolf v. Travolta, 167 F. Supp. 3d
     9   1077, 1097, 1102-03 (2016) (plaintiff was advised—eight years earlier—that
    10   the defendant was working to develop a program “identical” to the trade secrets
    11   and admitted she thought it “was clear” the defendant “was using the program”).
    12         Second, Apple argues Lamego was not legally its agent. D.I. 38-1 at 16.
    13   But Apple does not explain why that makes Lamego’s representations to
    14   Plaintiffs irrelevant. Apple cites Citizens’ Nat’l Bank v. Santa Rita Hotel Co.,
    15   22 F.2d 524, 528 (1927), but, unlike the secretary who forged the president’s
    16   signature in Citizens National Bank, Lamego worked in Apple’s R&D
    17   department and was reasonably speaking to matters that were within “the
    18   apparent scope of his authority.” 22 F.2d at 528. Apple also cites Amer.
    19   Hardware Mutual Ins. Co. v. Escamilla, 2010 WL 11574194 at *3 (N.D. Cal.
    20   Sept. 28, 2010), but there, the agency issue presented “questions of fact” that
    21   compelled the court to deny summary judgment. Thus, at best, Apple’s agency
    22   arguments merely provide another reason Apple’s challenge cannot be resolved
    23   on the pleadings.
    24         Third, Apple argues Plaintiffs may not rely on the parties’ confidentiality
    25   agreement because Plaintiffs “failed to plead the agreement’s material terms.”
    26   D.I. 38-1 at 11. But the FAC relied on the existence of that agreement, not any
    27   particular term.    FAC ¶ 19.    Apple—which has never hesitated to attach
    28   documents it believes support its position—fails to do so or explain why any

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     1   material term is relevant. Apple cites Webpass Inc. v. Banth, 2014 WL 7206695
     2   at *4 (N.D. Cal. Dec. 18, 2014), but that case merely held that a plaintiff
     3   alleging breach-of-contract must plead the relevant terms.
     4         Fourth, Apple claims it is “irrelevant that the first product ‘at issue’ was
     5   announced in 2018” because the “first version of the Apple watch” was
     6   announced in 2014. D.I. 38-1 at 12. But the FAC does not allege the original
     7   Apple watch incorporates Plaintiffs’ trade secrets. To the contrary, the FAC
     8   specifically alleges the early watches had “significant performance issues with
     9   the non-invasive physiological measurements” that were not resolved until
    10   2018. FAC ¶ 25; see Teradata Corp. v. SAP SE, 2018 WL 6528009 at *9 (N.D.
    11   Cal. Dec. 12, 2018) (“Perhaps if the product performed similarly to Teradata’s it
    12   would have raised suspicion, but that is not alleged in the FAC”). Apple cites
    13   Reese v. Tracfone Wireless, Inc., 2014 WL 1872175 at *5 (C.D. Cal. May 9,
    14   2014), but never explains why that summary judgment case addressing the
    15   (now-non-existent) laches defense to patent infringement supports its cause.
    16         Fifth, Apple disputes Plaintiffs’ allegation that Apple actively concealed
    17   its misappropriation by requesting non-publication of the patent applications
    18   containing Plaintiffs’ trade secrets. D.I. 38-1 at 12-14. Apple argues Plaintiffs’
    19   “non-publication theory makes no sense” because, if Apple was “attempting to
    20   hide Lamego’s work on healthcare monitoring technologies, it would not have
    21   permitted publication of any patent application in that field naming Lamego as
    22   an inventor . . ..” D.I. 38-1 at 14. But the FAC does not allege Apple was
    23   concealing Lamego’s work in the general “field.” It alleges Apple selectively
    24   withheld publication of applications containing Plaintiffs’ trade secrets.
    25         Apple nonetheless argues Plaintiffs must plead “facts tending to exclude”
    26   that Apple’s “alternative explanation is true.” D.I. 38-1 at 14 (citing Eclectic
    27   Props. E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 996-97 (9th Cir.
    28   2014); Veronica Foods Co. v. Ecklin, 2017 WL 2806706 at *15 (N.D. Cal. June

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     1   29, 2017) (applying Eclectic)).   But Eclectic recognized a complaint “may be
     2   dismissed only when defendant’s plausible alternative explanation is so
     3   convincing that plaintiff’s explanation is implausible.”        751 F.3d at 996
     4   (emphasis in original). Here, Apple has not clearly identified any “alternative
     5   explanation” for its selective approach to requesting non-publication, much less
     6   one “so convincing” to render the FAC implausible. Where “the facts are
     7   susceptible to more than one legitimate inference, the issue of when the statute
     8   of limitations began to run is a question of fact for the jury . . ..” Highmark
     9   Digital, Inc. v Casablanca Design Centers, Inc., 2020 WL 2114940 (C.D. Cal.
    10   Mar. 26, 2020). “It will be a rare case where the complaint alone contains
    11   sufficient allegations to resolve the issue of constructive notice as a matter of
    12   law.” Fulfillium, Inc. v. ReShape Medical, Inc., 2018 WL 1942173 at *4 (C.D.
    13   Cal. Feb. 7, 2018), vacated on other grounds, 2018 WL 7286379. This is not
    14   one of those rare cases.
    15   D.    Denying Leave to Amend Would Be Improper
    16         Apple argues leave to amend should be denied merely because Plaintiffs
    17   voluntarily amended once to successfully narrow the parties’ dispute. D.I. 38-1 at
    18   25. That argument disregards this Court’s Initial Order, which instructs plaintiffs
    19   to avoid disputes by amending and states that, “even where a party has amended
    20   his Complaint once or a responsive pleading has been served, the Federal Rules
    21   provide that leave to amend should be ‘freely given when justice so requires.’”
    22   D.I. 19 at 6. While Plaintiffs believe Apple should obtain the detail it seeks in
    23   discovery, Plaintiffs should be given leave to amend and provide such detail if the
    24   Court were to agree with any portion of Apple’s Motion.
    25                                  V. CONCLUSION
    26         Plaintiffs respectfully request that the Court deny Apple’s Motion for all
    27   the reasons discussed above.
    28   ///

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     1                                Respectfully submitted,
     2                                KNOBBE, MARTENS, OLSON & BEAR, LLP
     3

     4

     5   Dated: May 14, 2020          By: /s/ Adam B. Powell
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